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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

JASMINE BUDZYN,                                        )
                                                       )
                       Plaintiff,                      )
                                                       )
       v.                                              )
                                                       )
KFC Corporation; KFC; FQSR, LLC; KBP Foods,            )
LLC; JAMES JOHNSON JR. INDIVIDUALLY                    )          Case No. 21-cv-4152
and as agent and/or employee of KFC Corporation,       )
FQSR, LLC, and/or KBP Foods, LLC,                      )
                                                       )
                       Defendants.                     )

                       DEFENDANT JOHNSON’S MOTION TO STAY

       Defendant, James Johnson, Jr. (“Johnson”), by his attorney, Hall Adams, states as follows

for his Motion to Stay:

       Johnson is a defendant in a criminal prosecution that alleges the same misconduct as that

alleged in plaintiff’s Complaint (1), People of the State of Illinois v. James E. Johnson, Jr., Case

No. 2020 CF 594, Circuit Court of Will County, Illinois (“criminal case”). The criminal case is

in the pretrial discovery stage and no trial date has been set.

       This Court should exercise its inherent power to stay proceedings in this case to prevent

Johnson from facing the Hobson’s Choice of participating in the discovery process in this case at

the risk of waiving for forfeiting his Fifth Amendment right against self-incrimination in the

criminal case. See Doe v. City of Chicago, 360 F.Supp.2d 880 (N.D. Ill. 2005), cited with

approval in Fick v. Parker, 2020 U.S. Dist. LEXIS 148756, ¶ (6)

            WHEREFORE, Johnson moves for entry of an Order staying proceedings in this case

until the conclusion of the criminal case.

                                                              /s/ Hall Adams
                                                       Attorney for Defendant Johnson
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